AO 245C (WDNC Rev. 01/2020) Judgment in a Criminal Case




                                               UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
    UNITED STATES OF AMERICA                                           )   AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                       )   (For Offenses Committed On or After November 1, 1987)
                V.                                                     )
                                                                       )
    TERRANCE DEANDREW BACKUS                                           )   Case Number: DNCW108CR000128-003
                                                                       )   USM Number: 12049-058
                                                                       )
    Filed Date of Original Judgment: 3/29/2010                         )   Joshua Carpenter
    (Or Filed Date of Last Amended Judgment)
                                                                       )   Defendant’s Attorney


THE DEFENDANT:
  Pleaded guilty to count(s) 1.
  Pleaded nolo contendere to count(s) which was accepted by the court.
  Was found guilty on count(s) after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                              Date Offense
 Title and Section                         Nature of Offense                                                  Concluded        Counts
 21 U.S.C. §§ 841(a)(1)                    Conspiracy to Possess with Intent to Distribute                    12/03/2008         1
 and 846                                   Cocaine Base (“Crack”)

        The Defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

  The defendant has been found not guilty on count(s).
  Count(s) (is)(are) dismissed on the motion of the United States.
        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States attorney
of any material change in the defendant's economic circumstances.


                                                                                Date of Imposition of Sentence: 10/19/2020




                                                                                Date: October 20, 2020




                     Case 1:08-cr-00128-MR-WCM Document 837 Filed 10/20/20 Page 1 of 7
AO 245C (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Terrance Deandrew Backus                                                                   Judgment- Page 2 of 7
Case Number: DNCW108CR000128-003



                                                          IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
ONE HUNDRED EIGHTY (180) MONTHS.

 The Court makes the following recommendations to the Bureau of Prisons:
         1.    Participation in any available educational and vocational opportunities.
         2.    Participation in the Federal Inmate Financial Responsibility Program.
         3.    Participation in any available substance abuse treatment program and, if eligible, receive benefits of
               18:3621(e)(2).
         4.    Defendant shall support all dependents from prison earnings.

 The Defendant is remanded to the custody of the United States Marshal.

 The Defendant shall surrender to the United States Marshal for this District:
            As notified by the United States Marshal.
            At on .

 The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            As notified by the United States Marshal.
            Before 2 p.m. on .
            As notified by the Probation Office.


                                                             RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                        United States Marshal
                                                                           By:
                                                                                 Deputy Marshal




                     Case 1:08-cr-00128-MR-WCM Document 837 Filed 10/20/20 Page 2 of 7
AO 245C (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Terrance Deandrew Backus                                                                                                           Judgment- Page 3 of 7
Case Number: DNCW108CR000128-003

                                                                    SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of FOUR (4) YEARS.

☐ The condition for mandatory drug testing is suspended based on the court's determination that the defendant poses a low risk of
future substance abuse.
                                                             CONDITIONS OF SUPERVISION
The defendant shall comply with the mandatory conditions that have been adopted by this court.
       1.    The defendant shall not commit another federal, state, or local crime.
       2.    The defendant shall not unlawfully possess a controlled substance.
       3.    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
             imprisonment and at least two periodic drug tests thereafter, as determined by the Court (unless omitted by the Court).
       4.    ☐ The defendant shall make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of restitution. (check if
             applicable)
       5.    The defendant shall cooperate in the collection of DNA as directed by the probation officer (unless omitted by the Court).


The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.
       1.    The defendant shall report to the probation office in the federal judicial district where he/she is authorized to reside within 72 hours of release from
             imprisonment, unless the probation officer instructs the defendant to report to a different probation office or within a different time frame.
       2.    The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.
       3.    The defendant shall not leave the federal judicial district where he/she is authorized to reside without first getting permission from the Court or probation
             officer.
       4.    The defendant shall answer truthfully the questions asked by the probation officer.
       5.    The defendant shall live at a place approved by the probation officer. The probation officer shall be notified in advance of any change in living arrangements
             (such as location and the people with whom the defendant lives).
       6.    The defendant shall allow the probation officer to visit him/her at any time at his/her home or elsewhere, and shall permit the probation officer to take any
             items prohibited by the conditions of his/her supervision that the probation officer observes.
       7.    The defendant shall work full time (at least 30 hours per week) at lawful employment, unless excused by the probation officer. The defendant shall notify the
             probation officer within 72 hours of any change regarding employment.
       8.    The defendant shall not communicate or interact with any persons engaged in criminal activity, and shall not communicate or interact with any person
             convicted of a felony unless granted permission to do so by the probation officer.
       9.    The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer.
      10.    The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed, or
             was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
      11.    The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential informant without the permission of the Court.
      12.    If the probation officer determines that the defendant poses a risk to another person (including an organization), the probation officer may require the
             defendant to notify the person about the risk. The probation officer may contact the person and make such notifications or confirm that the defendant has
             notified the person about the risk.
      13.    The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or controlled
             substance or any psychoactive substances (including, but not limited to, synthetic marijuana, bath salts) that impair a person’s physical or mental functioning,
             whether or not intended for human consumption, or any paraphernalia related to such substances, except as duly prescribed by a licensed medical
             practitioner.
      14.    The defendant shall participate in a program of testing for substance abuse if directed to do so by the probation officer. The defendant shall refrain from
             obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of the testing. If warranted, the defendant shall participate in a
             substance abuse treatment program and follow the rules and regulations of that program. The probation officer will supervise the defendant’s participation in
             the program (including, but not limited to, provider, location, modality, duration, intensity) (unless omitted by the Court).
      15.    The defendant shall not go to, or remain at any place where he/she knows controlled substances are illegally sold, used, distributed, or administered without
             first obtaining the permission of the probation officer.
      16.    The defendant shall submit his/her person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(1)), or other electronic
             communications or data storage devices or media, or office, to a search conducted by a United States Probation Officer and such other law enforcement
             personnel as the probation officer may deem advisable, without a warrant. The defendant shall warn any other occupants that such premises may be subject
             to searches pursuant to this condition.
      17.    The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or the term
             of supervised release in accordance with the schedule of payments of this judgment. The defendant shall notify the court of any changes in economic
             circumstances that might affect the ability to pay this financial obligation.
      18.    The defendant shall provide access to any financial information as requested by the probation officer and shall authorize the release of any financial
             information. The probation office may share financial information with the U.S. Attorney’s Office.
      19.    The defendant shall not seek any extension of credit (including, but not limited to, credit card account, bank loan, personal loan) unless authorized to do so in
             advance by the probation officer.
      20.    The defendant shall support all dependents including any dependent child, or any person the defendant has been court ordered to support.
      21.    The defendant shall participate in transitional support services (including cognitive behavioral treatment programs) and follow the rules and regulations of such
             program. The probation officer will supervise the defendant’s participation in the program (including, but not limited to, provider, location, modality, duration,
             intensity). Such programs may include group sessions led by a counselor or participation in a program administered by the probation officer.
      22.    The defendant shall follow the instructions of the probation officer related to the conditions of supervision.




                     Case 1:08-cr-00128-MR-WCM Document 837 Filed 10/20/20 Page 3 of 7
AO 245C (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Terrance Deandrew Backus                                                                       Judgment- Page 4 of 7
Case Number: DNCW108CR000128-003



                                                          CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


                  ASSESSMENT                                      RESTITUTION                              FINE
                    $100.00                                          $0.00                                 $0.00




                                                                    INTEREST

         The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
on the Schedule of Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

           The interest requirement is waived.

           The interest requirement is modified as follows:


                                                          COURT APPOINTED COUNSEL FEES

 The defendant shall pay court appointed counsel fees.




                     Case 1:08-cr-00128-MR-WCM Document 837 Filed 10/20/20 Page 4 of 7
AO 245C (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Terrance Deandrew Backus                                                                           Judgment- Page 5 of 7
Case Number: DNCW108CR000128-003



                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

           A  Lump sum payment of $0.00 due immediately, balance due
                  Not later than
                  In accordance  (C),  (D) below; or

           B  Payment to begin immediately through the Financial Responsibility Program (may be combined
               with  (D) below); or

           C  Payment in equal monthly installments of $50.00 to commence 60 days after the date of this judgment; or

           D  In the event the entire amount of criminal monetary penalties imposed is not paid prior to the
               commencement of supervision through the Financial Responsibility Program, payments shall be made in
               equal monthly installments of $50.00 to commence 60 days after release from imprisonment to a term of
               supervision. The U.S. Probation Officer shall pursue collection of the amount due, and may request to modify
               a payment schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the payment of criminal monetary penalties:

 The defendant shall pay the cost of prosecution.
 The defendant shall pay the following court costs:
 The defendant shall forfeit the defendant’s interest in the following property to the United States as set forth in the
Consent Order (Document 180) dated 3/10/2009, which Order is incorporated herein by reference.



Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
monetary penalty payments are to be made to the United States District Court Clerk, 401 West Trade Street, Room
210, Charlotte, NC 28202, except those payments made through the Bureau of Prisons’ Inmate Financial Responsibility
Program. All criminal monetary penalty payments are to be made as directed by the court.

The Defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.




                     Case 1:08-cr-00128-MR-WCM Document 837 Filed 10/20/20 Page 5 of 7
AO 245C (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Terrance Deandrew Backus                                                                                             Judgment- Page 6 of 7
Case Number: DNCW108CR000128-003



                                                          DENIAL OF FEDERAL BENEFITS
                                             (For offenses committed on or after November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

       IT IS ORDERED that the defendant shall be:

      ineligible for all federal benefits for a period of 10 years.

 ineligible for the following federal benefits for a period of years:


                                                                              OR


       Having determined that this is the defendant's third or subsequent conviction for distribution of controlled substances,
       IT IS ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

       IT IS ORDERED that the defendant shall:

 be ineligible for all federal benefits for a period of years.

 be ineligible for the following federal benefits for a period of years:

 successfully complete a drug testing and treatment program.

 perform community service, as specified in the probation and supervised release portion of this judgment.

 Having determined that this is the defendant's second or subsequent conviction for possession of a controlled
       substance, IT IS FURTHER ORDERED that the defendant shall complete any drug treatment program and
       community service specified in this judgment as a requirement for the reinstatement of eligibility for federal benefits.




Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health, disability, veterans
benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required for eligibility. The clerk of court is
responsible for sending a copy of this page and the first page of this judgment to:

                                          U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531



                     Case 1:08-cr-00128-MR-WCM Document 837 Filed 10/20/20 Page 6 of 7
AO 245C (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Terrance Deandrew Backus                                                                  Judgment- Page 7 of 7
Case Number: DNCW108CR000128-003



                                                          STATEMENT OF ACKNOWLEDGMENT

I understand that my term of supervision is for a period of _______months, commencing on ____________________.

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

I understand that revocation of probation and supervised release is mandatory for possession of a controlled substance,
possession of a firearm and/or refusal to comply with drug testing.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



(Signed)         ____________________________________ Date: _________________
                  Defendant

(Signed)         ____________________________________ Date: _________________
                  U.S. Probation Office/Designated Witness


 The Court gives notice that this case may involve other defendants who may be held jointly and severally liable for
payment of all or part of the restitution ordered herein and may order such payment in the future.




                     Case 1:08-cr-00128-MR-WCM Document 837 Filed 10/20/20 Page 7 of 7
